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                          IN THE UNITED STATE DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 Alexis Rios,                                          §
                                                       §   Case No.
       Plaintiff,
                                                       §
                                                       §
 v.
                                                       §
                                                       §
 AFNI, Inc.
                                                       §
      Defendant.                                       §

                    DEFENDANT AFNI, INC.’S NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant AFNI, Inc. (“AFNI”) hereby

removes the subject action from the Court of Common Pleas of Buck County, Pennsylvania to the

United States District Court for the Eastern District of Pennsylvania, on the following grounds:

        1.      Plaintiff Alexis Rios (“Plaintiff”) instituted an action in the Court of Common Pleas

of Bucks County, Pennsylvania, on June 29, 2021.

        2.      AFNI was served on July 21, 2021. Therefore, removal is timely as this removal is

filed within thirty (30) days of notice of the suit.

        3.      Plaintiff’s Complaint alleges violations of the Fair Debt Collection Practices Act,

15 U.S.C. § 1692 et seq. (“FDCPA”).

        4.      This Court has original jurisdiction over the subject action pursuant to 28 U.S.C.

§1331 because there is a federal question – an alleged violation of the FDCPA.

        5.      Pursuant to 28 U.S.C. §1441, et seq., this cause may be removed from Court of

Common Pleas of Bucks County, Pennsylvania, to the United States District Court for the Eastern

District of Pennsylvania.

        6.      Notice of this removal will promptly be filed with the clerk of Court of Common

Pleas of Buck County, Pennsylvania and be served on all adverse parties.
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       7.      Pursuant to 28 U.S.C. §1446(a), copies of all process, pleadings, orders and other

papers filed in this action and obtained by Defendant are attached hereto and marked as composite

Exhibit A and incorporated herein by reference

       8.      A jury demand was made in state court.

       WHEREFORE, Defendant AFNI, Inc. respectfully requests that the aforementioned

action, now pending in the Court of Common Pleas of Bucks County, Pennsylvania, be removed

to the United States District Court for the Eastern District of Pennsylvania.

                                              Respectfully Submitted,

Date: August 10, 2021                         /s/ Justin M. Tuskan
                                              Justin M. Tuskan (PA ID 311235)
                                              Counsel for Defendant AFNI, Inc.
                                              Metz Lewis Brodman Must O’Keefe, LLC
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                                CERTIFICATE OF SERVICE
       I hereby certify that a copy of the above and foregoing has been forwarded via Email and/or

the Court’s Electronic Filing System, on this 10th day of August, 2021, to all counsel of record.

                                             Respectfully Submitted,

Date: August 10, 2021                        /s/ Justin M. Tuskan
                                             Justin M. Tuskan (PA ID 311235)
                                             Counsel for Defendant AFNI, Inc.
                                             Metz Lewis Brodman Must O’Keefe, LLC
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